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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


   DAVID J. LORENZO,                          Civil Action No.

                Plaintiff,                    23-cv-21849 (CCC) (JRA)

                v.                            THIRD AMENDED
                                              SCHEDULING ORDER
   THE BOROUGH OF PALISADES
   PARK, NEW JERSEY, et al.,

                Defendants.


       THIS MATTER having come before the Court by way of the parties’ joint

 letter dated November 27, 2024 (ECF No. 49), seeking an extension to the

 time to complete discovery, and for good cause shown,

       IT IS, on this 4th day of December 2024, ORDERED that:

    1. Paper discovery shall be responded to by December 31, 2024.

    2. Fact discovery is extended through March 31, 2025. No fact discovery shall

       be issued or engaged in beyond that date, except upon application to this Court

       and for good cause shown.

    3. Discovery disputes (other than those arising during depositions) shall be

       brought to the Court’s attention no later than February 28, 2025. The Court

       will not consider any discovery dispute (other than those arising during

       depositions) brought to its attention after this date.
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    4. All affirmative expert reports shall be delivered by April 30, 2025. Any such

       report shall comport with the form and content requirements of Fed. R. Civ. P.

       26(a)(2)(B).

    5. All responding expert reports shall be delivered by May 30, 2025. Any such

       report shall comport with the form and content requirements referenced above.

    6. Expert discovery, including the depositions of any expert witnesses, shall be

       completed on or before June 30, 2025.




                                HON. JOSÉ R. ALMONTE
                                UNITED STATES MAGISTRATE JUDGE




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